110 F.3d 60
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Joseph Mario TURNER, Petitioner--Appellant,v.William D. SMITH, Warden;  Attorney General of the State ofMaryland, Respondents--Appellees.
    No. 96-7169.
    United States Court of Appeals, Fourth Circuit.
    April 2, 1997
    
      Joseph Mario Turner, Appellant Pro Se.
      John Joseph Curran, Jr., Attorney General, Gwynn X. Kinsey, Jr., Assistant Attorney General, Baltimore, Maryland, for Appellees.
      Before RUSSELL, LUTTIG, and MICHAEL, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his petition filed under 28 U.S.C. § 2254 (1994), amended by Antiterrorism and Effective Death Penalty Act of 1996, Pub.L. No. 104-132, 110 Stat. 1214.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we deny a certificate of appealability, deny Appellant's motion for a certificate of probable cause to appeal, and dismiss the appeal on the reasoning of the district court.  Turner v. Smith, No. CA-96-416-JFM (D.Md. July 17, 1996).  We deny Appellant's motion for oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    